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               EXHIBIT 6
                                                                     Exhibit
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                                                                                       February 23, 2022

BY EMAIL ATTACHMENT
Gwen R. Acker Wood, PhD. Esq.
Acker Wood Intellectual Property Law LLC
4981 McKnight Road
P.O. Box 11096
Pittsburgh, Pennsylvania

               Re: “Tiger King Season 2” – Use of Molly Cramer’s Tattoo

Dear Ms. Wood,

        We are litigation counsel to Royal Goode Productions, LLC (“RGP”), the producers of the
“Tiger King” documentary series (“Tiger King” or the “Series”). We are writing in response to your
firm’s cease and desist letter (the “Letter”), dated February 9, 2022.

        We understand from your correspondence that the portrayal of the tattoo likeness of Joe
Exotic (“Tattoo”) in the Series for less than three seconds has caused your client some concern. It
seems that your client is under the impression that RGP’s use of the Tattoo amounts to copyright
infringement.

        As explained below, the use of the Tattoo is transformative and non-commercial in nature
(as defined by law) and accordingly, does not infringe any rights of your client. For these reasons
we trust that you will understand why our clients will not adhere to your demands set forth in your
Letter, given that there is no legal basis for a claim.

       FAIR USE DOCTRINE BARS CLAIM OF COPYRIGHT INFRINGEMENT

        First, we encourage you to take into consideration the “Documentary Filmmakers’ Statement
of Best Practices in Fair Use” (the “Statement”)1. As noted in that Statement, reality-based uses, as
opposed to fictional or purely commercial uses, “usually satisfy the 'transformativeness' standard
[discussed below] easily, because copyrighted material is typically used in a context different from
that in which it originally appeared." Similar arguments apply to the use of the Tattoo in the Series,
as further explained below.

        According to the Statement, the first class of use which should be considered fair use is to
employ copyright material as the object of social, political, or cultural critique. The Tattoo in the
Series is used to comment on the number and nature of the followers Joe Exotic has garnered
since season one of the Series. This commentary adds significant new value to the Tattoo (making
the use transformative). In short, the Series, comments on the global impact Joe Exotic has had in
the wake of the first season of Tiger King and looks at those who have attempted to associate
themselves with Joe Exotic’s global recognition, whether via social media, presidential pardon
campaigns or the displaying of body art. This segment addresses the fact that Joe Exotic has

1See https://cmsimpact.org/code/documentary-filmmakers-statement-of-best-practices-in-fair-
use/#:~:text=Principle%3A%20Fair%20use%20should%20protect,final%20version%20of%20the%20film.
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become social phenomenon, with a wide variety of people eager for some form of association with
the jailed felon.

        With regard to the use of the Tattoo without authorization, as you are aware, the fair use
doctrine allows the use of copyright-protected materials without any permission from the copyright
holder. “The very point of fair use is that, in certain circumstance[s]... the law will not require... such
a license if it advances the overall goal of copyright — to create more works.” Hofheinz v. AMC
Prods., Inc., 147 F. Supp. 2d 127, 140 (E.D.N.Y. 2001); Andy Warhol Found. for Visual Arts, Inc. v.
Goldsmith, No. 19-2420-CV, 2021 WL 3742835, at *4 (2d Cir. Aug. 24, 2021) (quoting Blanch v.
Koons, 467 F.3d 244, 250 (2d Cir. 2006) (“The fair use doctrine seeks to strike a balance between
an artist’s intellectual property rights to the fruits of her own creative labor...‘and the rest of us to
express them—or ourselves by reference to the works of others.’”). Accordingly, there is no
copyright infringement here.

        It has been long established that a determination of fair use requires the consideration of the
following four mandatory but non-exclusive factors: 1) the “purpose and character” of the use,
including whether such use is of a commercial nature; 2) the nature of the copyrighted work; 3) the
“amount and substantiality” of the portion used in relation to the copyrighted work as a whole; and
4) the effect of the use upon the potential market for the copyrighted work, if any. 17 USC. §107.

        Many courts consider the first factor, the assessment of the purpose and character of the
use, to be the most important. Davis v. The Gap, Inc., 246 F.3d 152, 174 (2d. Cir. 2001). "Central to
determining the purpose and character of a work is whether the new work merely supersedes the
original work, or instead adds something new with a further purpose or of a different character."
Brownmark Films, LLC v. Comedy Partners, 682 F.3d 687, 693 (7th Cir. 2012), citing Campbell v.
Acuff–Rose Music, Inc., 510 U.S. 569, 585 (1994) at 579. In other words, we should determine
whether and to what extent the new work is “transformative.” Campbell at 579.

         "Transformative works advance the goals of copyright law, and thus they are at the 'heart of
the fair use doctrine’s breathing space within the confines of copyright.' Examples of fair use include
social commentary, criticism, and news reporting." See Northland Family Planning Clinic, Inc. v. Ctr.
for Bio-Ethical Reform, 868 F. Supp. 2d 962, 970 (C.D. Cal. 2012), citing Campbell at 578-579.

        Here, RGP’s use of the Tattoo in the Series is transformative. The Tattoo takes on a new
meaning in the Series, different from what Ms. Cramer originally intended to convey. In the Series
the The Tattoo is used as a form of social commentary on the nature of celebrity and as a tangible
demonstration of the scale of Joe Exotic’s fame. The tattoo appears in a segment showing multiple
individuals publicly aligning themselves with Joe Exotic, demonstrating the staggering reach the first
series had, while illustrating the lengths that some people would go to be associated with Joe
Exotic. Accordingly, while RGP features exact copies of the Tattoo design, its purpose in displaying
the Tattoo is entirely different from the purpose for which the Tattoo was originally
created. The Tattoo’s expressive value is minimized (for less than three seconds). Moreover, the
Tattoo is not separately depicted. The Tattoo, combined with other auditory and visual elements
constitute very small portion of the Series. Accordingly, the Tattoo assumes, in the context of the
Series, a new context and significance, distinct from the original context and purpose. See e.g.,
Solid Oak Sketches, LLC v. 2K Games, Inc., 449 F. Supp. 3d 333, 348 (S.D.N.Y. 2020), where use
of tattoos depicted on professional basketball players in a video game were transformative. In
granting Defendant's motion for summary judgment, the Court emphasized the transformative
nature of Defendant's use: Defendant only included the tattoos in the games to accurately portray
the players (“general recognizability” and not for “the [p]layers to express themselves through body
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art”), the tattoos make up a tiny fraction of the games, and the tattoos were not included in the
games for commercial reasons. See also, Hofheinz v. AMC, 147 F. Supp. 2d 127, 137 (E.D.N.Y.
2001) (“defendants' Documentary will likely be found to be ‘transformative’ on the trial of this matter;
it does not merely purport to supersede the original works at issue, but to create a new
copyrightable documentary”).

         Further, when the allegedly infringing work matches the description of uses detailed in §107
 preamble, such as commentary, criticism, or news reporting, then there is “strong presumption” that
 first factor favors defendant. “Documentaries and biographies fall within the protected categories of
 §107 and are entitled to the presumption the use of the copyrighted material is fair.” Hofheinz v.
 Discovery Commc'ns, Inc., No. 00-CV-3802, 2001 WL 1111970, at *3 (S.D.N.Y. Sept. 20, 2001);
 Monster Commc'ns, Inc. v. Turner Broadcasting System, 935 F. Supp. 490 (S.D.N.Y. 1996) (finding
 that a documentary about Muhammad Ali was a biography and therefore “undeniably constitute[d] a
 combination of comment, scholarship and research, all of which enjoyed favored status under
 §107”); Brown v. Netflix, Inc., 855 F. App'x 61, 62–63 (2d Cir. 2021) (court found a documentary's
 unauthorized use of a song to be transformative and fair, where the song at issue there (of which
 only eight seconds could be heard in the documentary) was used as part of the film's "commentary
 on the burlesque art form and its resurgence in Portland, Oregon"). The documentary character of
 the Series fits within uses identified by §107. Here, the Tattoo is used as part of a collage to
 illustrate Joe exotic’s popularity, about which the Series was commenting, and the Tattoo can be
 seen only briefly and in passing. See Blanch v. Koons, 467 F.3d 244 (2d Cir. 2006) (contemporary
 artist Jeff Koons’ use of fashion photographer’s image in a collaged painting was sufficiently
 transformative).

       The first fair use factor also asks whether the secondary work is commercial. Regarding the
 commerciality of the intended use, the fact that the producers, distributors and broadcasters of the
 Series may profit economically is not dispositive. In Campbell, the U.S. Supreme Court stated: “If,
 indeed, commerciality carried presumptive force against a finding of fairness, the presumption
 would swallow nearly all of the illustrative uses listed in the preamble paragraph of §107, including
 news reporting, comment, criticism, teaching, scholarship, and research, since these activities are
 generally conducted for profit in this country.” 510 US at 584 (internal quotes and citations omitted).
 “The more transformative the new work, the less will be the significance of other factors, like
 commercialism, that may weigh against a finding of fair use.” Cariou v. Prince, 714 F.3d 694, 708
 (2d Cir. 2013) citing Campbell at 579.


         Accordingly, the for-profit nature of the Series does not weigh against the use of the Tattoo
 being fair use. The highly transformative use of the Tattoo makes the nature of the Series even less
 significant. For all the above reasons, the Series is entitled to presumption in favor of fair use under
 the first factor.

         The second fair use factor looks to the nature of the copyrighted work used and “calls for
 recognition that some works are closer to the core of intended copyright protection than others.”
 Hofheinz v. AMC Prods., Inc., 147 F. Supp. 2d 127, 138 (E.D.N.Y. 2001), citing Campbell at 586. As
 a general proposition, published works enjoy less fair use protection than those that have never
 been published. See Bill Graham Archives v. Dorling Kindersley Ltd., 448 F.3d 605, 612 (2d Cir.
 2006) (“the second factor may be of limited usefulness where the creative work of art is being used
 for a transformative purpose.” (citing Campbell, 510 U.S. at 586)).
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         Since the use of the Tattoo passes the transformative test, as discussed in our analysis of the
 first factor, and consists of previously published material that might arguably be creative in nature,
 the elements in the second factor of the fair use analysis does not assist your claim.


       The third factor involved in assessing a fair use defense is the “amount and substantiality” of
 the portion(s) used. This factor “has both a quantitative and qualitative element to it.” Hofheinz v.
 Discovery Communications, Inc., 2001 WL 1111970 at *5 (S.D.N.Y. 2001), quoting Wright v.
 Warner Books, Inc., 953 F.2d 731, 738 (2d. Cir. 1991). This inquiry must consider that the “extent of
 the permissible copying varies with the purpose and character of the use.” Bill Graham Archives v.
 Dorling Kindersley Ltd., 448 F.3d 605, 613 (2d Cir. 2006), citing Campbell at 586-587. So once
 again, to determine the weight of this factor, the purpose and character of the use is relevant.
       This factor leans in favor of the Series in every aspect. The Tattoo is used in the Series for a
 very short period of time, less than three seconds. Ultimately, the “fair use copier must copy no
 more than is reasonably necessary... to enable him to pursue an aim that the law recognizes as
 proper,” such as “the aim of criticizing the copyrighted work effectively.” See Brownmark Films, LLC
 v. Comedy Partners, 800 F. Supp. 2d 991, 1000 (E.D. Wis. 2011) aff’d, 682 F 3d 687 (7th Cir.
 2012), citing Chicago Bd. of Educ. v. Substance, Inc., 354 F.3d 624, 629. Therefore, the portrayal of
 the Tattoo in the Series is no more than is reasonably necessary to establish the popularity of Joe
 Exotic and to comment on the nature of his fame.
        Further, the Tattoo appears as part of a collage of multiple images to convey a distinct
 meaning, message and character – rather than merely offering a simple reproduction. The Tattoo is
 “not displayed with sufficient detail for the average lay observer to identify even the subject matter
 of the [Tattoo], much less the style used in creating them.” Solid Oak Sketches, LLC v. 2K Games,
 Inc., 449 F. Supp. 3d 333, 345 (S.D.N.Y. 2020) ( Defendants moved for summary judgment,
 asserting their use of the tattoos was de minimis and thus unactionable. The Court agreed,
 concluding that the amount of the copyrightable work that was copied and the observability of the
 copyrightable work was so trivial. “The undisputed factual record shows that average game play is
 unlikely to include the players with the tattoos and that, even such players are included, the display
 of the tattoos is small and indistinct, appearing as rapidly moving visual features of rapidly moving
 figures in groups of player figures[.]”). Further, the U.S. Supreme Court has held that even taking
 the “heart” of a copyrighted work does not preclude a finding of fair use. Campbell at 588-89; see
 also Brownmark at 693 (holding that copying did not become excessive merely because the portion
 taken was the original’s heart).


         The fourth and final factor is the effect, if any, of the allegedly fair use on the potential market
 for or value of the copyright-protected work. The Court in Hofheinz stated as follows: “The alleged
 infringing clips ‘are too few, too short, and too small in relation to the whole’ to undercut the market
 for the plaintiff’s copyrighted works.” The use of the Tattoo in an episode of the Series is similarly
 too short and too small to damage the market for your client’s work. On the contrary, the portrayal of
 the Tattoo in the Series is likely to increase the market demand for Ms. Cramer’s Tattoo, as a new
 audience is introduced to it. See Nunez v. Caribbean Int'l News Corp., 235 F.3d 18, 25 (1st Cir.
 2000).


        Additionally, the transformative nature of the secondary work also comes into play in the
 determination of the fourth factor. Generally, if the secondary use is significantly transformative, it
 will not impinge on a market available to the copyright holder and is therefore more likely to be a fair
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    use. See Associated Press v. Meltwater U.S. Holdings, Inc., 12 CIV. 1087 DLC, 2013 WL 1153979
    (S.D.N.Y. Mar. 21, 2013) (“After all, ‘[c]opyright holders rarely write parodies of their own works or
    write reviews of them”) (internal citation omitted).


           In conclusion, the use of the Tattoo is protected by the fair use defense, because, on
    balance, the “transformative” nature of the use conclusively pushes all of the factors towards a
    finding of fair use. Also, a finding of fair use here would further the ultimate purpose of copyright
    law, which is not to restrict creativity, but rather to promote the flourishing of new creative works. 2


          We trust that in view of the above, you will advise your client accordingly.


            Please also note that this letter does not contain a complete statement of our clients' position
    in this or any other matter, nor does it constitute a waiver of any of our clients' legal or equitable
    rights, all of which are expressly reserved. If you have any further questions or concerns not
    addressed above, please let us know.



                                                      Sincerely,




                                                      Anthony Doherty
                                                      tdoherty@smithdehn.com




2 See U.S. Constitution, Article I, Section 8, Clause 8; Hofheinz v. AMC Prods., Inc., 147 F. Supp. 2d 127, 140 (E.D.N.Y.
2001); Northland Family Planning Clinic, Inc. v. Ctr. for Bio-Ethical Reform, 868 F. Supp. 2d 962, 970 (C.D. Cal. 2012),
citing Campbell at 578-579.
